            Case 23-12591-pmm                        Doc             Filed 07/26/24 Entered 07/26/24 20:03:26                    Desc Main
                                                                     Document      Page 1 of 9
 Fill in this information to identify the case:
Debtor 1 Toni Murphy
Debtor 2 Arthur Murphy(Spouse, if filing)

United States Bankruptcy Court for the: Eastern District of Pennsylvania
                                                           (State)

Case number 23-12591-pmm




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s principal
residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at
least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1
 Name of Creditor: Lakeview Loan Servicing, LLC                                     Court Claim No. (if known): 9
 Last four digits of any number                                                     Date of Payment Change:                        September 1, 2024
 you use to identify the debtor's                 XXXXXX7305                        Must be at least 21 days after date of
 account:                                                                           this notice.
                                                                                    New total payment:                             $1,402.99
                                                                                    Principal, interest, and escrow, if any


 Part 1:          Escrow Account Payment Adjustment

 1.    Will there be a change in the debtor's escrow account payment?

       No.
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
       the basis for the change. If a statement is not attached, explain why:



             Current escrow payment: $509.24                                        New escrow payment: $609.14


 Part 2:          Mortgage Payment Adjustment

 2.    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate
       account?

       No.
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a statement is not
       attached, explain why:

             Current interest rate: ____________                                    New interest rate: ____________


             Current principal and interest payment:                                New principal and interest payment:
 Part 3:         Other Payment Change

 3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?

      No
      Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
       (Court approval may be required before the payment change can take effect.)
           Reason for change:


             Current mortgage payment:                                              New mortgage payment:




Official Form 410S1                                          Notice of Mortgage Payment Change                       Page 1
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Debtor 1 Toni Murphy____________________________ Case number (if known) ___23-12591-pmm_______________________
           First Name  Middle Name Last Name
                                                                                                                              Desc Main
                                                                Document      Page 2 of 9
 Part 4:          Sign Here

 The person completing this notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box

      I am the creditor.
      I am the creditor’s authorized agent.
 I declare under penalty of perjury that the information in this Notice is true and correct to the best of my knowledge,
 information, and reasonable belief.

 X /s/ Christopher A. DeNardo                                                                Date:   07/26/2024
          Signature



                       Christopher A. DeNardo 78447
                       Heather Riloff - 309906
 Print:                Leslie J. Rase, 58365                                                 Title Attorney for Creditor
                       First Name                Middle Name             Last Name


 Company               LOGS Legal Group LLP


 Address               985 Old Eagle School Road, Suite 514
                       Number           Street


                       Wayne, PA 19087
                       City                                      State     ZIP Code


 Contact phone         (610) 278-6800                                                        Email logsecf@logs.com




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                                                  Certificate of Service

I hereby certify that a copy of the foregoing Notice of Mortgage Payment Change was caused to be served on the parties listed
below by postage prepaid U.S. Mail, First Class or served electronically through the Court’s ECF System at the e-mail address
registered with the Court on this Date:
       07/26/2024
Date: _____________________________


Chapter 13 Trustee: Kenneth E. West, Office of the Chapter 13 Standing Trustee
Trustee Address: 1234 Market Street - Suite 1813, Philadelphia, PA 19107
Trustee Email: ecfemails@ph13trustee.com


Debtor's Counsel Name: Michael A. Cibik, Esquire, Cibik Law, P.C.

Debtor's Counsel Address: 1500 Walnut Street, Suite 900, Philadelphia, PA 19102

Debtor's Counsel Email: mail@cibiklaw.com
Debtor’s Name: Toni Murphy

Debtor's Mailing Address: 6636 N 17th Street, Philadelphia, PA 19126

Debtor’s Email:

Debtor’s Name: Arthur Murphy

Debtor's Mailing Address: 6636 N 17th Street, Philadelphia, PA 19126

Debtor’s Email:




                                                                         /s/ Christopher A. DeNardo
                                                                        Christopher A. DeNardo 78447
                                                                        Heather Riloff - 309906
                                                                        Leslie J. Rase, 58365
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                                                           Document      Page 4 of 9
                                                                                 07/12/2024               OUR INFO
                                       RETURN SERVICE ONLY                                                ONLINE
                                       PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                       PO Box 818060                                                      www.rushmoreservicing.com
                                       5801 Postal Road
                                       Cleveland, OH 44181

                                                                                                          YOUR INFO
                                                                                                          CASE NUMBER
                                                                                                          2312591

                                                                                                          LOAN NUMBER
        TONI MURPHY
        6636 N 17TH STREET
                                                                                                          PROPERTY ADDRESS
        PHILADELPHIA,PA 19126
                                                                                                          6636 N 17TH ST
                                                                                                          PHILADELPHIA, PA 19126




        Dear TONI MURPHY,

        An escrow analysis was performed on the above referenced account.

        Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escrow account disclosure
        statement is for informational purposes only and should not be construed as an attempt to collect a debt.

        If you are represented by an attorney in your bankruptcy, please forward a copy of this letter to such attorney and
        provide such attorney’s name, address and telephone number to us.

        If you have any questions, please call our Bankruptcy Department at 877-888-4623. Our hours of operation are Monday
        through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.rushmoreservicing.com for more information.

        Sincerely,

        Rushmore Servicing

        Enclosure




        Rushmore ServicingSM and Mr. Cooper® are brand names for Nationstar Mortgage LLC.
        Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
        collect, assess, or recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy
        Code. If this account has been discharged in a bankruptcy proceeding, be advised this communication is for
        informational purposes only and not an attempt to collect a debt against you; however, the servicer/lender reserves
        the right to exercise the legal rights only against the property securing the loan obligation, including the right to
        foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an attempt
        to collect against the borrower personally or an attempt to revive personal liability.
        If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a
        borrower on the loan) that has not assumed, or otherwise become obligated on the debt, this communication is for
        informational purposes only and is not an attempt to collect a debt from you personally.

                                                                                                                                         DOL
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                                                                                 Escrow Account Disclosure Statement
                                RETURN SERVICE ONLY
                                PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                PO Box 818060
                                5801 Postal Road                                 Customer Service: 877-888-4606
                                Cleveland, OH 44181
                                                                                 Monday through Friday from 7 a.m. to 8 p.m. (CT)


                                                                                 Tax/Insurance: 800-303-2513
                                                                                 Monday through Friday from 8 a.m. to 9 p.m. (ET)

                                                                                 Your Loan Number:
TONI MURPHY
                                                                                 Statement Date: 07/12/2024
6636 N 17TH STREET
PHILADELPHIA,PA 19126




      Why am I         Rushmore Servicing completed an analysis of your escrow account to ensure that the account is funded
 receiving this?       correctly, determine any surplus or shortage, and adjust your monthly payment accordingly. Rushmore
                       Servicing may maintain an escrow cushion equal to two months' estimated taxes and insurance (unless limited
                       by your loan documents or state law). This measure helps to avoid negative balance in the event of changing
                       tax and insurance amounts.

What does this         At this time, your Escrow Account has less money than needed and there is a shortage of $0.00. Due to this
 mean for me?          shortage and changes in your taxes and insurance premiums, your monthly escrow payment will increase
                       by $99.90. Effective 09/01/2024, your new total monthly payment** will be $1,402.99.
                                                              Current Monthly                                           New Monthly
 Total Payment                                                                        Payment Changes
                                                                     Payment                                               Payment
 PRINCIPAL AND INTEREST                                                $793.85                       $0.00                   $793.85
 ESCROW                                                                $509.24                      $99.90                   $609.14
 Total Payment                                                       $1,303.09                      $99.90                 $1,402.99
 See below for shortage calculation
What is a Shortage? A shortage is the difference between the lowest projected balance of your account for the coming year and
your minimum required balance. To prevent a negative balance, the total annual shortage is divided by 12 months and added to
your monthly escrow payment, as shown below.

               Minimum Required Balance                                                     Lowest Projected Balance
                          $1,026.30                                                                    $1,026.30


                                                            $0.00 / 12 = $0.00
                        Please see the Coming Year Projections table on the back for more details
 Escrow Payment                                         Current Annual                                             Anticipated Annual
                                                                                Annual Change
 Breakdown                                                Disbursement                                                  Disbursement
 CITY TAX                                                      $2,803.80                   $0.00                             $2,803.80
 FHAMIP INS                                                       $1,176.12             ($24.24)                               $1,151.88
 HAZARD SFR                                                      $2,131.00             $1,223.00                             $3,354.00
 Annual Total                                                   $6,110.92              $1,198.76                             $7,309.68
If you have questions about changes to your property taxes or homeowners’ insurance premiums, please contact your local taxing authority or
insurance provider. For more information about your loan, please sign in at www.rushmoreservicing.com.




Rushmore ServicingSM and Mr. Cooper® are brand names for Nationstar Mortgage LLC.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
collect, assess, or recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy
Code. If this account has been discharged in a bankruptcy proceeding, be advised this communication is for
informational purposes only and not an attempt to collect a debt against you; however, the servicer/lender reserves
the right to exercise the legal rights only against the property securing the loan obligation, including the right to
foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an attempt
to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a
borrower on the loan) that has not assumed, or otherwise become obligated on the debt, this communication is for
informational purposes only and is not an attempt to collect a debt from you personally.




                                           This Area Intentionally Left Blank
                                      This statement is for informational purposes only.




                                                                                                                                              60-3
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The change in your escrow payment** may be based on one or more of the following factors:
PAYMENT(S)                                        TAXES                                       INSURANCE Monthly payment(s) received were less tha
  or greater than expected Exemption status lost or changed Coverage changed
Monthly payment(s) received earlier or later Supplemental/Delinquent tax paid Additional premium paid
  than expected Paid earlier or later than expected Paid earlier or later than expected
 Previous overage returned to escrow Tax installment not paid Premium was not paid Previous deﬁciency/shortage not paid entirely Tax refund received
                                                   New tax escrow requirement paid New insurance escrow requirement paid
                                                                                               Force placed insurance premium paid

                                     Prior Year Account History and Coming Year Projections
This is a statement of the actual activity in your escrow account from 09/23 through 08/24. This statement itemizes your
actual escrow account transactions since your previous analysis statement or initial disclosure, and projects payments,
disbursements, and balances for the coming year. The projections from your previous escrow analysis are included with the actual
payments and disbursements for the prior year. By comparing the actual escrow payment with the previous projections listed, you
can determine where a difference may have occurred. When applicable, the letter 'E' beside an amount indicates that a payment or
disbursement has not yet occurred but is estimated to occur as shown.
Projections are included to ensure sufﬁcient funds are available to pay your taxes and/or insurance for the coming year.Under
Federal Law (RESPA), the lowest monthly balance in your escrow account should be no less than $1,026.30 or 1/6th of the total annual
projected disbursement from your escrow account, unless your mortgage documents or state law speciﬁes otherwise. Your projected
estimated lowest account balance of $1,026.30 will be reached in March 2025. When subtracted from your minimum required balance
of $1,026.30, an Escrow Shortage results in the amount of $0.00. These amounts are indicated with an arrow (<).
This escrow analysis is based on the assumption that all escrow advances made on your loan prior to your bankruptcy ﬁling
date are included in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other
amounts that will come due after the ﬁling of your bankruptcy case.
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         Projected      Actual          Projected           Actual                   Description                Projected          Actual
Month    Payment       Payment        Disbursement      Disbursement                                             Balance          Balance
                                                                                          Start                 $2,467.42       ($19,727.27)
09/23      $509.24        $509.24             $98.01           $98.01*  *              FHAMIP INS                $2,878.65        ($19,316.04)
10/23      $509.24        $509.24             $98.01           $98.01*  *              FHAMIP INS                $3,289.88       ($18,904.81)
11/23      $509.24        $509.24             $98.01           $98.01*  *              FHAMIP INS                   $3,701.11    ($18,493.58)
12/23      $509.24        $509.24             $98.01           $98.01*  *              FHAMIP INS                  $4,112.34     ($18,082.35)
01/24      $509.24        $509.24             $98.01           $98.01*  *              FHAMIP INS                 $4,523.57         ($17,671.12)
02/24      $509.24        $509.24              $0.00        $2,803.80*  *               CITY TAX                  $5,032.81      ($19,965.68)
02/24       $0.00          $0.00              $98.01           $98.01*  *              FHAMIP INS                $4,934.80      ($20,063.69)
03/24      $509.24        $509.24          $2,803.80             $0.00                  CITY TAX                 $2,640.24       ($19,554.45)
03/24       $0.00          $0.00              $98.01           $98.01*  *              FHAMIP INS                 $2,542.23      ($19,652.46)
04/24      $509.24        $509.24             $98.01           $98.01*  *              FHAMIP INS                $2,953.46         ($19,241.23)
04/24       $0.00          $0.00            $2,131.00            $0.00                HAZARD SFR                    $822.46        ($19,241.23)
05/24      $509.24       $2,043.00            $98.01           $95.99*  *              FHAMIP INS                 $1,233.69      ($17,294.22)
06/24      $509.24        $509.24             $98.01           $95.99*  *              FHAMIP INS                 $1,644.92     ($16,880.97)
07/24      $509.24        $892.68             $98.01             $0.00                 FHAMIP INS                 $2,056.15      ($15,988.29)
07/24       $0.00       $16,871.36E            $0.00             $0.00      Anticipated Payments 01/20-08/23      $2,056.15            $883.07
07/24       $0.00          $0.00               $0.00         $1,118.00* *             HAZARD SFR                  $2,056.15          ($234.93)
07/24       $0.00        $766.88E              $0.00             $0.00       Anticipated Payments 11/19-12/19     $2,056.15             $531.95
08/24      $509.24        $509.24             $98.01         $95.99*E *E               FHAMIP INS                $2,467.38             $945.20
Total      $6,110.88   $25,666.32           $6,110.92        $4,993.85                    Total                  $2,467.38            $945.20
         Projected                      Projected                                                                Current        Required
         Payment                      Disbursement                                   Description                 Balance         Balance
Month                                                                                                                           Projected
                                                                                         Start                   $945.20             $945.20
09/24       $609.14                           $95.99                                  FHAMIP INS                  $1,458.35         $1,458.35
09/24      $1,249.35                         $279.50                              BK ADJ/HAZARD SFR              $2,428.20         $2,428.20
10/24       $609.14                           $95.99                                  FHAMIP INS                  $2,941.35         $2,941.35
10/24          $0.00                         $279.50                                 HAZARD SFR                   $2,661.85         $2,661.85
11/24       $609.14                           $95.99                                  FHAMIP INS                  $3,175.00         $3,175.00
11/24          $0.00                         $279.50                                 HAZARD SFR                  $2,895.50         $2,895.50
12/24       $609.14                           $95.99                                  FHAMIP INS                 $3,408.65         $3,408.65
12/24          $0.00                         $279.50                                 HAZARD SFR                    $3,129.15         $3,129.15
01/25       $609.14                           $95.99                                  FHAMIP INS                 $3,642.30         $3,642.30
01/25          $0.00                         $279.50                                 HAZARD SFR                  $3,362.80         $3,362.80
02/25       $609.14                           $95.99                                  FHAMIP INS                 $3,875.95         $3,875.95
02/25          $0.00                         $279.50                                 HAZARD SFR                  $3,596.45         $3,596.45
03/25       $609.14                        $2,803.80                                   CITY TAX                   $1,401.79         $1,401.79
03/25          $0.00                          $95.99                                  FHAMIP INS                 $1,305.80          $1,305.80
03/25          $0.00                         $279.50                                 HAZARD SFR                  $1,026.30         $1,026.30<
04/25       $609.14                           $95.99                                  FHAMIP INS                  $1,539.45         $1,539.45
04/25          $0.00                         $279.50                                 HAZARD SFR                   $1,259.95         $1,259.95
05/25       $609.14                           $95.99                                  FHAMIP INS                  $1,773.10          $1,773.10
05/25          $0.00                         $279.50                                 HAZARD SFR                  $1,493.60          $1,493.60
06/25       $609.14                           $95.99                                  FHAMIP INS                 $2,006.75         $2,006.75
06/25          $0.00                         $279.50                                 HAZARD SFR                   $1,727.25         $1,727.25
07/25       $609.14                           $95.99                                  FHAMIP INS                 $2,240.40         $2,240.40
07/25          $0.00                         $279.50                                 HAZARD SFR                  $1,960.90         $1,960.90
08/25       $609.14                           $95.99                                  FHAMIP INS                 $2,474.05         $2,474.05
08/25          $0.00                         $279.50                                 HAZARD SFR                   $2,194.55         $2,194.55
Total     $8,559.03                        $7,309.68                                     Total                   $2,194.55         $2,194.55

Bankruptcy Adjustment- The Prior Year Account History and Coming Year Projections section of the Annual Escrow Account
Disclosure Statement may contain a line item called "Bankruptcy Adjustment". This amount is a credit based upon the unpaid portion
of the escrow funds listed on the proof of claim to be paid through the Chapter 13 plan. The amount of the credit is calculated and
applied to reach the minimum required balance for the escrow account as allowed under the loan documents and applicable
non-bankruptcy law. The credit may not represent the total outstanding amount of escrow funds owed in the proof of claim but
ensures that any escrow funds listed on the proof of claim to be paid through the plan will not be collected through the escrow
shortage or surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of or
surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of claim escrow
funds are listed as a credit to reach the required minimum account balance.
You will receive an Annual Escrow Account Disclosure Statement reﬂecting the actual disbursements at the end of the next escrow
analysis cycle. However, you should keep this statement for your own records for comparison. If a previous escrow analysis statement
was sent to you by your previous servicer, please refer to that statement for comparison purposes. If you have any questions, please
call David Munoz at (877)-888-4623. Our hours of operation are Monday through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at
www.rushmoreservicing.com for more information.
Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.
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